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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.
 JULIE GREER,

 Defendant.                                                 No. 08-30071-DRH

                                       ORDER

 HERNDON, Chief Judge:

              Before the Court is the United States of America’s Agreed Motion to

 Continue Sentencing (Doc. 96).      The Government asks that Defendant Greer’s

 sentencing hearing be continued so that she may continue her cooperation with the

 Government. A continuance would also allow the Government to fully advise the

 Court of the nature of Defendant’s cooperation at the time of sentencing. Defendant

 does not object to the continuance and, in fact, joins in the request for continuance.

 Based on the reasons set forth in the motion, the Court GRANTS the Government’s

 Agreed Motion to Continue Sentencing (Doc. 96) and CONTINUES the sentencing

 hearing set for October 29, 2009 until February 5, 2010 at 10:00 a.m.

              IT IS SO ORDERED.

              Signed this 26th day of October, 2009.



                                               /s/     DavidRHer|do|
                                               Chief Judge
                                               United States District Court
